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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                 Case Nos.:     3:13cr34/RV/EMT
                                                                   3:14cv15/RV/EMT
JAMES E. ATIABI
____________________________/
                                           ORDER
        This cause comes on for consideration upon the chief magistrate judge’s Report and
Recommendation dated July 21, 2015 (doc. 390). Defendant has been furnished a copy of the
Report and Recommendation and has been afforded an opportunity to file objections pursuant to
Title 28, United States Code, Section 636(b)(1). I have made a de novo determination of all timely
filed objections.
        Having considered the Report and Recommendation, and any timely filed objections thereto,
I have determined that the Report and Recommendation should be adopted.
        Accordingly, it is now ORDERED as follows:
        1.     The chief magistrate judge’s Report and Recommendation is adopted and
incorporated by reference in this order.
        2.     This case is DISMISSED without prejudice for Defendant’s failure to comply with
an order of the court.
        DONE AND ORDERED this 21st day of August 2015.



                                             /s/ Roger Vinson
                                             ROGER VINSON
                                             SENIOR UNITED STATES DISTRICT JUDGE
